      Case: 1:15-cv-11000 Document #: 1 Filed: 12/08/15 Page 1 of 5 PageID #:1



                           ,17+(81,7('67$7(6',675,&7&2857
                          )257+(1257+(51',675,&72),//,12,6

 ,15(7(67267(521(5(3/$&(0(17                     0'/1R
 7+(5$3<352'8&76/,$%,/,7</,7,*$7,21               0DVWHU'RFNHW&DVH1RFY
                                                      +RQRUDEOH0DWWKHZ).HQQHOO\
 7KLVGRFXPHQWDSSOLHVWR
Estate of Robert Sellars v. AbbVie, Inc.
                            0$67(5 6+257)250 &203/$,17
                               )25,1',9,'8$/ &/$,06
             3ODLQWLIIV Edie Sellars Individually and on Behalf of the Estate of Robert L. Sellars
                                                                                                

VWDWHVDQGLQFRUSRUDWHVE\UHIHUHQFHWKHSRUWLRQVLQGLFDWHGEHORZRI3ODLQWLIIV·0DVWHU

/RQJ)RUP&RPSODLQWRQILOHZLWKWKH&OHUNRIWKH&RXUWIRUWKH8QLWHG6WDWHV'LVWULFW

&RXUW IRU WKH 1RUWKHUQ'LVWULFW RI ,OOLQRLV LQ WKH PDWWHU HQWLWOHGIn Re: Testosterone

Replacement Therapy Products Liability Litigation0'/1R3ODLQWLIIV>LVDUH@ILOLQJ

WKLV6KRUW)RUP&RPSODLQWDVSHUPLWWHGE\&DVH0DQDJHPHQW2UGHU1RRIWKLV&RXUW

IRUFDVHVILOHGGLUHFWO\LQWRWKLVGLVWULFW

             ,Q DGGLWLRQ WR WKH EHORZLQGLFDWHG SRUWLRQV RI WKH 0DVWHU /RQJ )RUP

&RPSODLQWDGRSWHGE\WKHSODLQWLIIVDQGLQFRUSRUDWHGE\UHIHUHQFHKHUHLQ3ODLQWLIIV

KHUHE\DOOHJHVDVIROORZV
                                                9(18(
             9HQXH IRU UHPDQG DQG WULDO LV SURSHU LQ WKH IROORZLQJ IHGHUDO MXGLFLDO

GLVWULFW U.S.   District of Montana
                             ,'(17,),&$7,21 2)3/$,17,))6 
                            $1'5(/$7(' ,17(5(67(' 3$57,(6

             1DPH DQG UHVLGHQFHRILQGLYLGXDO LQMXUHGE\ 7HVWRVWHURQH5HSODFHPHQW
                                  Edie Sellars Individually and on Behalf of the Estate of Robert L. Sellars
7KHUDS\SURGXFWV´757µ
Big Fork, Montana 59911

             &RQVRUWLXP&ODLPV7KHIROORZLQJLQGLYLGXDOVDOOHJHGDPDJHVIRUORVV

RIFRQVRUWLXPEdie      Sellars, widow of Robert Sellars
       Case: 1:15-cv-11000 Document #: 1 Filed: 12/08/15 Page 2 of 5 PageID #:2




               6XUYLYDODQGRU:URQJIXO'HDWKFODLPV

              D 1DPH DQG UHVLGHQFHRI 'HFHGHQWZKHQKHVXIIHUHG757UHODWHGLQMXULHV

                 DQGRUGHDWK
Robert L. Sellars, Big Fork, Montana 59911




              E 1DPHDQGUHVLGHQFHRILQGLYLGXDOVHQWLWOHGWREULQJWKHFODLPVRQEHKDOI

                 RIWKHGHFHGHQW·VHVWDWHHJSHUVRQDOUHSUHVHQWDWLYHDGPLQLVWUDWRUQH[WRI

                 NLQVXFFHVVRULQLQWHUHVWHWF
Edie Sellars, Big Fork, Montana 59911




                                    &$6(63(&,),& )$&76
                               5(*$5',1* 757 86($1',1-85,(6
               3ODLQWLIIFXUUHQWO\UHVLGHVLQFLW\VWDWH Big Fork, Montana

               $WWKHWLPHRIWKH757FDXVHGLQMXU\>3ODLQWLII'HFHGHQW@UHVLGHGLQFLW\

VWDWHBig Fork, Montana

               >3ODLQWLII'HFHGHQW@EHJDQXVLQJ 757 DV SUHVFULEHG DQGLQGLFDWHGRQ RU

DERXWWKHIROORZLQJGDWHOctober, 2012

              >3ODLQWLII'HFHGHQW@GLVFRQWLQXHG757XVHRQRUDERXWWKHIROORZLQJGDWH
December 12, 2012


              >3ODLQWLII'HFHGHQW@XVHGWKHIROORZLQJ757SURGXFWV

✔       $QGUR*HO                                             6WULDQW
        7HVWLP                                               'HODWHVWU\O
        $[LURQ                                               2WKHUVSOHDVHVSHFLI\
        'HSR7HVWRVWHURQH                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        $QGURGHUP                                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        7HVWRSHO                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
        )RUWHVWD                                       BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
      Case: 1:15-cv-11000 Document #: 1 Filed: 12/08/15 Page 3 of 5 PageID #:3




            >3ODLQWLII'HFHGHQW@LVVXLQJWKHIROORZLQJ'HIHQGDQWV

 ✔    $EE9LH,QF                                    (QGR3KDUPDFHXWLFDOV,QF
      $EERWW/DERUDWRULHV                            $X[LOLXP3KDUPDFHXWLFDOV,QF
      $EE9LH3URGXFWV//&                            *OD[R6PLWK.OLQH//&
      8QLPHG3KDUPDFHXWLFDOV//&
      6ROYD\6$                                   $FWDYLVSOF
      %HVLQV+HDOWKFDUH,QF                         $FWDYLV,QF
      %HVLQV+HDOWKFDUH6$                        $FWDYLV3KDUPD,QF
                                                       $FWDYLV/DERUDWRULHV87,QF
      (OL/LOO\DQG&RPSDQ\                          :DWVRQ/DERUDWRULHV,QF
      /LOO\86$//&                                $QGD,QF
       Acrux Commercial Pty Ltd.
      $FUX[''63W\/WG

      3IL]HU,QF
      3KDUPDFLD	8SMRKQ&RPSDQ\,QF


      2WKHUVSOHDVHVSHFLI\




            >3ODLQWLII'HFHGHQW@LV EULQJLQJ VXLW DJDLQVW WKH IROORZLQJ 'HIHQGDQWV

ZKRGLGQRWPDQXIDFWXUH757DQGRQO\DFWHGDVDGLVWULEXWRUIRU757PDQXIDFWXUHUV



            D 757SURGXFWVGLVWULEXWHG

            E &RQGXFWVXSSRUWLQJFODLPV




            757 FDXVHGVHULRXVLQMXULHVDQGGDPDJHVLQFOXGLQJEXWQRWOLPLWHGWRWKH

IROORZLQJ
Cardiovascular health dysfunction, loss of consortium and companionship,
loss of opportunity for a better outcome, medical expenses, avoidable death.
      Case: 1:15-cv-11000 Document #: 1 Filed: 12/08/15 Page 4 of 5 PageID #:4




           $SSUR[LPDWHGDWHRI757LQMXU\       Date of death 12/11/12



               $//(*$7,216 &/$,06$1'7+(25,(6 2)5(&29(5<
                $'237('$1' ,1&25325$7(' ,17+,6 /$:68,7
           3ODLQWLIIVKHUHE\DGRSWV DQG LQFRUSRUDWHVE\ UHIHUHQFHDV LIVHWIRUWK

IXOO\KHUHLQDOOFRPPRQDOOHJDWLRQVFRQWDLQHGLQSDUDJUDSKVWKURXJKRIWKH0DVWHU

/RQJ)RUP&RPSODLQWRQILOHZLWKWKH&OHUNRIWKH&RXUWIRUWKH8QLWHG6WDWHV'LVWULFW

&RXUW IRU WKH 1RUWKHUQ 'LVWULFW RI ,OOLQRLV LQ WKH PDWWHU HQWLWOHGIn Re: Testosterone

Replacement Therapy Products Liability Litigation0'/1R

           3ODLQWLIIVKHUHE\DGRSWV DQG LQFRUSRUDWHVE\ UHIHUHQFHDV LIVHWIRUWK

IXOO\ KHUHLQ WKH IROORZLQJ GDPDJHV DQG FDXVHV RI DFWLRQ RI WKH 0DVWHU /RQJ )RUP

&RPSODLQWRQILOHZLWKWKH&OHUNRIWKH&RXUWIRUWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH

1RUWKHUQ'LVWULFWRI,OOLQRLVLQWKHPDWWHUHQWLWOHGIn Re: Testosterone Replacement Therapy

Products Liability Litigation0'/1R
         ✔    &RXQW,²6WULFW/LDELOLW\²'HVLJQ'HIHFW

        ✔     &RXQW,,²6WULFW/LDELOLW\²)DLOXUHWR:DUQ

         ✔    &RXQW,,,²1HJOLJHQFH
         ✔    &RXQW,9²1HJOLJHQW0LVUHSUHVHQWDWLRQ
         ✔    &RXQW9²%UHDFKRI,PSOLHG:DUUDQW\RI0HUFKDQWDELOLW\
         ✔    &RXQW9,²%UHDFKRI([SUHVV:DUUDQW\
         ✔    &RXQW9,,²)UDXG

              &RXQW9,,,²5HGKLELWLRQ
         ✔    &RXQW,;²&RQVXPHU3URWHFWLRQ
         ✔    &RXQW;²8QMXVW(QULFKPHQW
         ✔    &RXQW;,²:URQJIXO'HDWK
      Case: 1:15-cv-11000 Document #: 1 Filed: 12/08/15 Page 5 of 5 PageID #:5




         ✔    &RXQW;,,²6XUYLYDO$FWLRQ

         ✔    &RXQW;,,,²/RVVRI&RQVRUWLXP
         ✔    &RXQW;,9²3XQLWLYH'DPDJHV

         ✔    3UD\HUIRU5HOLHI

              2WKHU6WDWH/DZ&DXVHVRI$FWLRQDV)ROORZV Defendant is liable under
       Montana law re: products liability, M.C.A. 27-1-719, and violation of Montana
       Unfair Trade Practices and Consumer Protection Act, M.C.A. 30-14-101 et seq.

                                      -85<'(0$1'
3ODLQWLIIVGHPDQGVDWULDOE\MXU\DVWRDOOFODLPVLQWKLVDFWLRQ


'DWHGWKLVWKH 8th GD\RI December                  15
                                                   BBBB


                             5(63(&7)8//<68%0,77('
                             21%(+$/)2)7+(3/$,17,))6

                             /s/ Stephanie C. Kucera
                             6LJQDWXUH

2)&2816(/QDPH         Stephanie C. Kucera
                 	GJSN
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                 	QIPOF
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                 	FNBJM
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